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                                                                             E-FILED
                                                   Monday, 07 June, 2021 05:57:56 PM
                                                        Clerk, U.S. District Court, ILCD

       IN THE UNITED STATES DISTRICT COURT
       FOR THE CENTRAL DISTRICT OF ILLINOIS
               SPRINGFIELD DIVISION


SANDRA YEH, M.D. and PRAIRIE EYE )
CENTER, LTD.,                      )
                                   )
    Plaintiffs,                    )
                                   )
 v.                                ) Case No. 20-3124
                                   )
PRAIRIE E&L MANAGEMENT, LLC,       )
a North Carolina Limited Liability )
Company, et al.,                   )
                                   )
    Defendants.                    )

                           OPINION

RICHARD MILLS, United States District Judge:

    Before the Court is Defendant Prairie E&L Management,

LLC’s Motion for Reconsideration and Modification of the

Preliminary Injunction Opinion and Order and for Findings of

Fact and Conclusions of Law.


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     Following an evidentiary hearing on August 24-25, 2020, the

Court granted the Plaintiffs’ Motion for Preliminary Injunction in

an Opinion and Preliminary Injunction Order on August 28, 2020.

The Court denied Defendant Prairie E&L Management’s

(“PELM”) motion for preliminary injunction.

     PELM moves for reconsideration and modification of the

Preliminary Injunction Opinion and Order. It asks the Court to

reconsider its prior ruling and delete from its Opinion and Order

the language enjoining “enforcement of any and all restrictive

covenants and non-solicitation provisions included in the Asset

Purchase Agreement (APA), Administrative Services Agreement

(ASA),    Physician    Employment       Agreement         and   related

agreements,” which PELM states is an alternative argument

raised by the Plaintiffs in the event PELM prevailed and was able

to terminate the ASA and transfer Plaintiff Sandra Yeh, M.D.’s

shares of stocks to other physicians, which did not occur.
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     PELM further claims the language is overly broad in that it

enjoins enforcement of the restrictive covenants in the Asset

Purchase Agreement and “related agreements,” which were not

alleged to have been breached.

     Each of those agreements—the APA, ASA, Physician

Employment      Agreement      and    Directed       Stock   Transfer

Agreement--was introduced at the hearing. The Court previously

noted the agreements should not be read in isolation.

     Upon reviewing the Plaintiffs’ motion for preliminary

injunction [d/e 47] and memorandum in support [d/e 48], the

Court notes that Plaintiffs sought in Paragraph D of those

pleadings the relief pertaining to restrictive covenants and non-

solicitation provisions. That relief was not merely an alternative

argument in the event that PELM prevailed on its motion and was

able to terminate the ASA and transfer Dr. Yeh’s stock to other

physicians.
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     The various agreements were entered into evidence at the

hearing. The Plaintiffs presented evidence of material breaches

of those agreements.

     PELM asserts that restrictive covenants in asset purchase

situations are viewed quite differently from typical restrictive

covenants    in    the   employee-employer          context.   PELM

acknowledged that in certain circumstances, it would constitute

bad faith if it were to terminate the ASA for the purpose of

transferring Dr. Yeh’s stock under the Directed Stock Transfer

Agreement, terminating her rights under the Physician

Employment Agreement and imposing a significant termination

fee (while negotiating a new ASA with different physicians). In

that respect, this case is significantly different from a typical

purchase of assets situation.




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     Based on the relief sought by the Plaintiffs and evidence

presented in filings and at the August 2020 hearing, the Court

finds no basis to depart from its previous Order preliminarily

enjoining enforcement of the non-competition and non-

solicitation clauses contained in the related agreements.

     PELM also asks that the Court make additional or alternative

findings of fact and conclusions of law which is consistent with

the relief it requests and the Court’s prior rulings on the motions

for injunctive relief.    However, the Court concludes that

additional findings are not necessary.

     Ergo, the Defendant Prairie E&L Management, LLC’s

Motion for Reconsideration and Modification of Preliminary

Injunction Opinion and Order and for Findings of Fact and

Conclusions of Law [d/e 68] is DENIED.

ENTER: June 4, 2021


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FOR THE COURT:

                   /s/ Richard Mills
                   Richard Mills
                   United States District Judge




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